
In re Nancy Lynn Rogers; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Lafayette, 15th Judicial District Court Div. J, No. 2015-0578-J; to the Court of Appeal, Third Circuit, No. CW 15-00390.
Not considered; not timely filed. See State v. Crandell, 05-1060 (La.3/10/06), 924 So.2d 122; Morris v. Stueben, 01-0137 (La.3/16/01), 781 So.2d 1220. Defendants’ *596motion to dismiss plaintiffs writ application is denied as moot. Plaintiffs motion to strike defendant’s motion for dismissal is denied.
